     Case 3:18-cr-02580-CAB Document 10 Filed 06/05/18 PageID.12 Page 1 of 1
                                                                         FILED
                                                                        Jun 05 2018
 1                                                                  CLERK, U.S. DISTRICT COURT
                                                                 SOUTHERN DISTRICT OF CALIFORNIA
 2                                                              BY          s: kristenb     DEPUTY


 3

 4                               UNITED STATES DISTRICT COURT

 5                             SOUTHERN DISTRICT OF CALIFORNIA

 6   UNITED STATES OF AMERICA,                         Case No.       '18 CR2580 CAB
 7                              ?laintiff,             I N F 0 R MA T I 0 N

 8            v.
                                                       Title 18, U.S.C., Section
 9   ERASMO NORIEGA-PACHECO,                           1544 -   suse of Passport
                                                       (Felony)
10                              Defendant.

11

12           The United StaLes Attorney charges:

13           On or about May 8, 2018, within the Southern District of California,

14        fendant,    ERASMO   NORIEGA-PACHECO,    willfully    and     knowingl           used      and

15   attempted to use, a United SLates Passport Card, which had been issued

16   and      signed     r the use of another person, in              , defendant presented

17   sa      Passport Card to a            rtment of Homeland Security,               CusLoms

18   Border Protection Officer, at the Otay Mesa, California Port of Entry,

19   with the intent LO ga           ent     to the United States,                  violation of

20

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22
             DATED:    #L
     Title 18, United States Code, Section 1544, a felony.



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                                                        LEE               /--
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                                                  Sg cial Assistant U.S. Attorney
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     SLE:cn:5/17/2018
